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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                     )
UNITED STATES OF AMERICA,                            )
                                                     )
                   Plaintiff,                        )
                                                     )
       v.                                            )
                                                     )      Civil Action No. 1:21-cv-02886-FYP
BERTELSMANN SE & CO. KGaA, PENGUIN                   )
RANDOM HOUSE, LLC, VIACOMCBS, INC.,                  )
and SIMON & SCHUSTER, INC.,                          )
                                                     )
                   Defendants.                       )
                                                     )

                                   MOTION FOR ADMISSION
                                PRO HAC VICE OF VISION WINTER

       Pursuant to Local Rule 83.2(d) of the Rules of the United States District Court for the

District of Columbia, the undersigned moves for the admission pro hac vice of Vision Winter to

represent Defendants Bertelsmann SE & Co. KGaA and Penguin Random House LLC and to

appear and participate in proceedings in this Court in the above-captioned matter.

       Mr. Winter is a partner of the firm O’Melveny & Myers LLP, attorneys for Bertelsmann

SE & Co. KGaA and Penguin Random House LLC in this matter. He is a member in good

standing of the bar of the State of California, as well as the Central and Northern District Courts

of California, and the U.S. Patent and Trademark Office. Mr. Winter has not been subject to

disciplinary proceedings as a member of the bar in any jurisdiction, nor are any disciplinary

proceedings currently pending against him. In the past two years, Mr. Winter has not been

admitted pro hac vice in the United States District Court for the District of Columbia.
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Date: February 28, 2022                   Respectfully submitted,

                                          /s/ Julia Schiller__________
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                                          Counsel for Defendants
                                          Bertelsmann SE & Co. KGaA and Penguin
                                          Random House LLC




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